Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 1 of 10 PageID #: 5




                     Exhibit A
              Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 2 of 10 PageID #: 6
                                                                                        ·,
                           SPECIALPROCESSSERVER \

IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

   Judge or Division:                                                 Case Number: 2122-AC03134
   CRAIG KENNEDY HIGGINS                                                                                                                Special Process Server 1

                                                                                                                                               MTOMLIN
   Plaintiff/Petitioner:                                              Plaintiffs/Petitioner's Attorney/Address or
   WILLIAM HARPER                                                     Pro Se's AddressfTelephone Number:
                                                                vs.   RICHARD ANTHONY VOYTAS                                            S ecial Process Server 2
 1---------------------'-'c:...j                                      ROSS·& VOYTAS LLC
    Defendant/Respondent:  ~                                          2242 s BRENTWOOD BLVD
  ;MERCANTILE ADJUSTMENT BUREAU LLC                                   SAINT LOUIS, MO 63144
  \                        ~                                           314 394-0605                                                     S ecial Process Server 3
    Nature of Suit:                                                   Date, nme and Location of Court Appearance:
  _AC QthefTort _                                                     05-MAY-2021 09:30 AM
i ~,                                                                  Division  :zs -        - -
                                                                      CIVIL COURTS BUILDING
                                                                      10 N TUCKER BLVD
                                                                      SAINT LOUIS, MO 63101
                                                                      Please see the attached information for appearing via
                                                                      WebEx. WebEx connection information may also be found
                                                                      ai http://www.stlcitycl:cuitcourt.com/
                                                                                                                                             Date File Stam
                                  Summons for Personal Service Outside the State of Missouri
                                                  Associate Division Cases
  . :rhe State of Missouri to: MERCANTILE ADJUSTMENT BUREAU, LLC
                                 Alias:
   /801 ADLAI STEVENSON DRIVS
   \_ SPRINGFIELD, IL 62703         ~

         COURT SEAL OF                 Y.ou are summoned to appear before this court physically if the court is open to the public or virtually if not on the date,
                                       ti.me and location above, to answer the allegation in the petition filed by the above-named plaintiff/petitioner, a copy of
                                       which is_attached. If you fail to appear at the time and place stated in this summons, judgment by default will be taken
                                       against you for the relief demande? in the petition ...Due to COVID19 challenges, virtual appearances by Webex.com are
                                       required until further order of this Court."
                                       If you have a disability requiring special assistance for your court appearance, please contact the court at least 48 hours
                                       in advance of scheduled hearing.                   '
                                                                                                              "'"·""'"
                                                                                                              I,   .. <
                                                                                                                        .. · ·· •             f;."' • '''"
                                                                                                                                         .. J''
                                                           April 2, 2021                                      •'ii' -::           • ·•:- ··t:. ;.~-.
        CITY OF ST LOUIS                                      Date
                                       Further Information: ·
                                       .                    Officer's or Server's Affidavit of Service
        Note to serving officer: Service must not be made less than 10 days nor more than 60 days from the dale the defendant/respondent is.to
                                      appear in court.
        I certify that:                 i:
        1. I am authorized to serve'process in civil actions within the state or territory where the above summons was served.
        2. My official title is       ·;,                         of _ _ _ _ _ _ _ _ _ _ _ county, _ _ _ _ _ _ (state)
        3. I have served the above,'summons by: (check one)
              D delivering a copy of the summons and a copy of the petition to the defendant/respondent.
              D leaving a copy of tHe summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
                                       '                            , a person of the defendant's/respondent's family over the age of 15 years who
                    permanently resides with the defendant/respondent.
              D (for service on a corporation) delivering a copy of the summons and a copy of the petition to:
                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (name) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (title).
              0     other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---'
        Served at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (address) in _ _ _ _ _ _ _ _ _ _ _ _ _ County,
        _ _ _ _ _ _ _ (state) on this _ _ _ _ _ _ _ _ _ (date) at _ _ _ _ _ _ (time).

                           Printed Namefof Sheriff or Server                                                 Signature of Sheriff or Server
                                    Sub~cribed and sworn to before me this ____ (day) ______ (month) _ _ _ (year).
                                    I am;- (check one) D the clerk of the court of which affiant is an officer.                                           ·'
                                         ,;             D the judge of the court of which affiant is an officer.                                        , ... .,
             (Seal)
                                         f              D authorized to administer oaths in the state in which the affiant served the above summons. (use for' · ·
                                                            out-of-state officer)
                                         ),             D authorized to administer oaths. (use for court-appointed server)
                                                                                                      Si nature and Title
  OSCA (07-18) SM70 (ASOS) For Coult Use Only: Document ID# 21-ASOS-155                        1 of 2 (2122-AC03134)               Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                   506.500, 506.510, 517.041 RSMo
 Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 3 of 10 PageID #: 7
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 Information For Virtual Appearances via Webex Associate Circuit Civil
 Cases - Page 1
                     i                                                                          ,
During the Coronavirus pandemic ( COVID-19), the 22st Judicial Circuit (St. Louis C_ify) has
remained open and operational with limited access for in-person appearances pursuant to ·. · ·
Missouri Supreme Court Orders and Operational Directives. · Until further court order, all
associate civil ca~es pending in Divisions 28 will be conducted virtually via the Webex 01; other
court approved vfdeo technology.

In order to particip~te through Webex or other court approved video technology, you MUST
have a valid email address or access to a phone.

You may appear in one 9f three· ways:

        1. Attend by Webex or other court approved video technology (compute{or smart
           phone);
        2. Attend by Webex or other court approved audio technology (teleph~;me);
        3. Only 1appear in person if you have been informed that Division 28 will conduct in
           persop. proceedings on the date your hearing is set             .-
           To chkck on your case by telephone call Division 28 at 314-613-~iS~ or the circuit
           clerk~s office at 622-4433 d~g regular business hours.          . ·:        ·
            You can access your case online on CaseNet at www.courts.mo.gov

If you fail to appear at your scheduled Court hearing by one of the three methods above, a
default judgment ni.ay be entered against you.

To appear at the Webex hearing please follow the steps below:

Parties are reqt(ired to appear. in court on the date ordered physically if the courthouse is
open for your snecific proceeding or virtually using the below URL link and/or Audio
Connection with1 the Meeting Number/Access Code 961 544 759     .

Information )!or Virtual Appearances via Webex Associate Circuit Civil
Cases - Page 1

During the Coronavirus pandemic ( COVID-19) , the 22st Judicial Circuit .(St. Louis City) has
remained open and operational with limited access for in-person appearances pursuant to
Missouri Supreme Court Orders and Operational Directives. Until further court order, all
associate civil cases pending in Divisions 28 will be conducted virtually via the Webex or other
court approved vjdeo technology.
                I

                l
In order to particjpate through Webex or other court approved video technology, you MUST
have a valid em~l address or access to a phone.

You may appear in one of three ways:
   Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 4 of 10 PageID #: 8



          4. Attend by Webex ·or other court approved video technology (computer or smart
             phone);
          5. Attend b~ Webex or other court approved audio technology (teleph~ne);
          6. Only app1ear in person if you have been informed that Division 28 will conduct in
             person proceedings on the date your hearing is set
             To check on your case by telephone call Division 28 at 314-613-3185 or the circuit
             clerk!s office at 622.:4433 during regular business hours. ·
              You  F   access your case online on CaseNet at www.courts.mo.gov
                   f          '·,•..
  If you fail to appear at your scheduled Court hearing by one of the three methods above, a
  default iudgment may be entered··against you.

-- .To appear at the Webex heari~'g please follow the steps below:   -
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 · Parties are required t_o appea~ ~n court on the date ordered physically if the courthouse is
   open for your spec.ific proceecl,ipg or virtually using the below URL link and/or Audio
   Connection wit~ the Meeting Number/Access Code 961 544 759

  URL:.
                   .
  https://mocourt!f.webex.com/meet/craig.higgins/
                                    .

  :Meeting Number'.:   ·
  967395 750
  Video Address:
  craig.h iggins@mocourts.webex.com"

  Audio connection:
  United States Toll +1-408-418-9388

  Access code:
  967 395 750
Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 5 of 10 PageID #: 9
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Additional Info~mation For Self-Represented Litigants·on Associate Circuit
Civil Cases - Page 2



1. The WebEx app is free and available through all phone app stores, such as the Google Play
   store or iTunes. The call in number is a toll call.
2. At the time of your scheduled hearing, you should log into Webex or call in using the audio
   connection al,Jove.
3. If you have aµy questions, please call the Division 28 court clerk at 314-613-3185 .
                •
4. VJ:I!~O OR_AQDIO RECORI)fN"G by_I_iti~ts_QJ by coJJD.Sel IS PROHIBITED. __
5. Until your next court date, please consider the following: ·


               •       You can monitor the status of your case online on CaseNet at
                       \V\Vw.courts.mo.gov. Use the "Track this Case" feature to automatically
                       receive emails or text messages about your case.

              • ; Before coming to the courthouse, please check the St. Louis City Circuit
                  Court website at www.stlcitycircuitcourt.com to determine whether the
                  courthouse will be open on the day of your scheduled court hearing.

              •        To check on your case by telephone call Division 28 at 314-613-~185 or the      ,/
                       circuit clerk's offic.e at 622-4433 during regular business hours. Due to the
                       increased volume of calls, court clerks may not be available at all times to
                       answer questions via telephone.

              •        You have the right to hire an attorney to represent you.

              •        Attorneys must mark and e-file all documents.

              • r    If you are not represented by a lawyer, you may file answers or other
                   ; pleadings with the court by mail, or when the Court is open to the public
                   · come in person to the St. Louis City Circuit Clerk's office, 10 North
                     Tucker, St. Louis, MO 63108.                                      i




              •        Parties are encouraged, but in no way required, to engage in settlement
                       discussions regarding their cases. If a settlement is reache4 a Consent
                       Judgment resolving the case may be :qled with the court. A consent
                       judgement must be signed by all the p:arties and dated.
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Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 6 of 10 PageID #: 10                       CD
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                      IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS                                  0..

                                   STATE OF MISSOURI                                                 0
                                   ASSOCIATE DIVISION
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 WILLIAM HARPER                                                                                      r
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                                                                                                     iii"
         Plaintiff,                                                                                    I




                                                              Case No
 V.                                                                                                  0
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                                                              Division                               0
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 MERCANTILE ADJUSTMENT BUREAU,                                                                        ....>.

 LLC,                                                                                                 0
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 Serve at:                                                                                            u
 Illinois Corporation Service C                                                                       ~

 801 Adlai Stevenson Drive
 Springfield, IL 62703
                                                              JURY TRIAL DEMANDED

         Defendant.

                                              PETITION

         COMES NOW William Harper ("Plaintiff'), by and through his undersigned counsel,

 and for his petition states as follows:

                                           INTRODUCTION

         1.      This is an action for actual and statutory damages brought to the Court by an

 individual consumer for violations of the Fair Debt Collections Practices Act, 15 U.S.C. §1692 et

 seq. ("FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive, and unfair

 practices.

         2.      Plaintiff demands a trial by jury on all issues so triable .

                                           .TTJRISDICTION
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Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 7 of 10 PageID #: 11                            (1)
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       3.      This Court has jurisdiction of the FDCPA claim under 15 U.S.C. § 1692k(d), as              Q.


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Defendant's collection activity was directed to Plaintiff at his residence in Missouri. Plaintiff        ~


suffered the harms described herein in Missouri. Venue is proper in the City of St. Louis,
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Missouri for this reason.
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                                             PARTIES                                                      0
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       4.      Plaintiff is a natural person currently residing in St. Louis, Missouri. Plaintiff is a    I\.)




"consumer" within the meaning of the FDCPA.

       5.      The alleged debt Plaintiff owes arises out of consumer, family, and household

transactions. Specifically, the alleged debt arose from consumer purchases of goods and services

Plaintiff made on his Bank of America account.

       6.      Plaintiff has a bona-fide dispute of the debts. While Plaintiff did purchase

consumer goods and services on his Bank of America account, the balance alleged of $9,488.87

is not accurate to the best of Plaintiff's understanding as it overstates any amount that could be

due or owing to Defendant.

       7.      Defendant Mercantile Adjustment Bureau, LLC ("Defendant") is a foreign limited

liability company with its principal place of business located outside the State of Missouri.

       8.      The principal business purpose of Defendant is the collection of debts nationwide;

Defendant regularly attempts to collect debts alleged to be due to another entity.

       9.      Defendant is engaged in the collection of debts from consumers through means of

using mail and telephone. Defendant is a "debt collector" as defined by the FDCPA. 15 U.S.C.

§1692a(6).
                                                                                                     [IJ
Case: 4:21-cv-00519-JCH Doc. #: 1-1 Filed: 05/03/21 Page: 8 of 10 PageID #: 12                       (l)
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                                              FACTS                                                  0..

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        10.    Defendant's collection activity, of which Plaintiff disputes, occurred within the    ~
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previous twelve (12) months.                                                                         ~
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        11.    On November 24, 2020, Defendant attempted to collect the alleged consumer debt
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from Plaintiff via mail by sending its collection letter to Plaintiff. Plaintiff received this       0_,_

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collection letter on or about November 30, 2020, which stated a balance of $9,488.87.                t\.l
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        12.    Plaintiff had many debts and could no longer manage them without the assistance       .i:,.
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of an attorney, and so, on or around January 2021, Plaintiff hired an attorney to advise him with    ~



respect to the debt that Defendant was trying to collect.

        13.    Plaintiff called Defendant on or about January 22, 2021 to dispute the debt and

notify them of his attorney representation.

        14.    Defendant confirmed Plaintiff's identity and reported a balance due of $9,488.87.

        15.    Plaintiff then disputed the debt with Defendant. Plaintiff also provided a reason

for disputing the alleged debt, telling Defendant he did not have confirmation of the alleged

balance.

        16.    Rather than acknowledging Plaintiff's dispute, Defendant continued to attempt to

collect the debt. Specifically, Defendant told Plaintiff that "You stopped making payments in

July of 2019" and "You were charged off over $7000.00" in an attempt to get Plaintiff to pay on

the debt.

        17.     This was a collection communication that overshadowed Plaintiff's dispute rights

and caused him to believe that Defendant would not honor his right to dispute the debt or that he

had no right to dispute the debt.
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           18.    Plaintiff went on to notify Defendant of his attorney representation on the debt.

           19.    Rather than taking Plaintiff's attorney's contact information and ending the call,

Defendant proceeded to ignore Plaintiff and continue attempting to collect the debt. Specifically,          r
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Defendant asked Plaintiff "Anything in particular that caused you to fall behind with Bank of

America?"                                                                                                   0
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           20.    This was an attempt to collect the debt from Plaintiff and to bypass Plaintiff's          N
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retained counsel by trying to get Plaintiff to settle the debt directly with Defendant.                     ~
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           21.    Defendant's conduct showed blatant disregard for Plaintiff's right to cause debt          :5:'.

collection communications to stop upon disputing the debt and providing notice of attorney

representation on the debt.

           22.    Defendant's above-described conduct has caused Plaintiff to incur actual damages

including but not limited to attorneys' fees paid to his counsel, anxiety, frustration, and worry.

           23.    Further, Defendant's above-described conduct has caused Plaintiff to suffer the

following additional injuries in fact:

           a.     Plaintiff has been deprived of his statutorily created right to dispute a debt.

           b.     Plaintiff has been deprived of his statutorily created right to cause collection

           activity to cease upon provision of his attorney's contact information.

           24.    The injuries in fact are fairly traceable to the challenged actions of the Defendant

in that the Defendant engaged in the phone call with Plaintiff and sent Plaintiff the collection

letters.

           25.    Plaintiff's injuries in fact are likely to be redressed by a favorable decision in this

Court.
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                            COUNT I: VIOLATION OF THE FDCPA
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        26.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.       ~
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        27.      In its attempts to collect the alleged debt from Plaintiff, Defendant has committed   ?!2
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 violations of the FDCPA, 15 U.S.C. § 1692 et seq., including, but not limited to, the following:

        a.       Overshadowing Plaintiff's dispute rights. 15 U.S.C. § 1692g.                          0
                                                                                                       _,_
                                                                                                       N
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        b.       Depriving Plaintiff of his statutorily created right to cause debt collection         N


        communication to cease upon provision of his attorney's contact information. 15 U.S.C. §

        1692c.

 WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:

        A.       Judgment that Defendant's conduct violated the FDCPA;

        B.       Actual damages in an amount to be determined by the jury;

        C.       Statutory damages, costs and reasonable attorney's fees pursuant to 15 U.S.C. §

        1692(k); and

        D.       For such other relief as the Court may deem just and proper.


                                                Respectfully submitted,

                                               ROSS & VOYTAS, LLC

                                               By: Isl Richard A. Voytas, Jr.
                                               Richard A. Voytas, #52046
                                               2242 S Brentwood Blvd.,
                                               St. Louis, MO 63144
                                               Phone: (314) 394-0605
                                               Fax: (636) 333-1212
                                               rick@rossvoytas.com


                                               Attorney for Plaintiff
